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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                              Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                 Exhibit D
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                                   The Attorney General
                                          Washington, D.C.

                                            March 22, 2019
The Honorable Lindsey Graham                          The Honorable Jerrold Nadler
Chairman, Committee on the Judiciary                  Chairman, Committee on the Judiciary
United States Senate                                  United States House of Representatives
290 Russell Senate Office Building                    2132 Rayburn House Office Building
Washington, D.C. 20510                                Washington, D.C. 20515

The Honorable Dianne Feinstein                        The Honorable Doug Collins
Ranking Member, Committee on the Judiciary            Ranking Member, Committee on the Judiciary
United States Senate                                  United States House of Representatives
331 Hart Senate Office Building                       1504 Longworth House Office Building
Washington, D.C. 20510                                Washington, D.C. 20515


Dear Chairman Graham, Chairman Nadler, Ranking Member Feinstein, and Ranking Member
Collins:
         I write to notify you pursuant to 28 C.F.R. § 600.9(a)(3) that Special Counsel Robert S. Mueller
III has concluded his investigation of Russian interference in the 2016 election and related matters. In
addition to this notification, the Special Counsel regulations require that I provide you with "a
description and explanation of instances (if any) in which the Attorney General" or acting Attorney
General "concluded that a proposed action by a Special Counsel was so inappropriate or unwarranted
under established Departmental practices that it should not be pursued." 28 C.F.R. § 600.9(a)(3).
There were no such instances during the Special Counsel's investigation.
        The Special Counsel has submitted to me today a "confidential report explaining the
prosecution or declination decisions" he has reached, as required by 28 C.F.R. § 600.8(c). I am
reviewing the report and anticipate that I may be in a position to advise you of the Special Counsel's
principal conclusions as soon as this weekend.
        Separately, I intend to consult with Deputy Attorney General Rosenstein and Special Counsel
Mueller to determine what other information from the report can be released to Congress and the public
consistent with the law, including the Special Counsel regulations, and the Department's long-standing
practices and policies. I remain committed to as much transparency as possible, and I will keep you
informed as to the status of my review.
        Finally, the Special Counsel regulations provide that "the Attorney General may determine that
public release of' this notification "would be in the public interest." 28 C.F.R. § 600.9(c). I have so
determined, and I will disclose this Jetter to the public after delivering it to you.



                                                        ��
                                                        William P. Barr
                                                        Attorney General
